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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          BROWNSVILLE DIVISION

SUPERIOR HOME HEALTH                           §
SERVICES, LLC                                  §
(5020 IBC Circle)                              §
                                               §
VS.                                            §     CASE NO. 1:17-cv-0195
                                               §
PHILADELPHIA INDEMNITY                         §
INSURANCE COMPANY                              §
and ELIZABETH ORTIZ                            §

                                  On Removal from:

                            CAUSE NO. 2017-DCL-05877

SUPERIOR HOME HEALTH                           §   IN THE DISTRICT COURT
SERVICES, LLC                                  §
(5020 IBC Circle)                              §
                                               §
VS.                                            §   CAMERON COUNTY, TEXAS
                                               §
PHILADELPHIA INDEMNITY                         §
INSURANCE COMPANY,                             §
and ELIZABETH ORTIZ                            §   357TH JUDICIAL DISTRICT

                                      EXHIBIT 4

                  ALL DOCUMENTS FILED IN STATE COURT


                                        Index
               Document                                         Filed
          A    Plaintiff’s Original Petition                   8/31/17
          B    Defendant Philadelphia Indemnity
                                                               9/13/17
               Insurance Company’s Original Answer
          C    Defendant Philadelphia Indemnity
               Insurance Company’s Notice of Removal to        9/13/17
               Federal Court




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